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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          NORTHERN DIVISION
 UNITED STATES OF AMERICA,
                                             Case No. 18-cr-20489 (TLL)(PTM)
              Plaintiff,                     Hon. Thomas L. Ludington
 vs.

 JAMES D. PIERON, JR.,

              Defendant.



                             MOTION FOR NEW TRIAL

                           Hearing and oral argument requested

       Defendant James D. Pieron, Jr. moves for a new trial under Rule 33 of the

Federal Rules of Criminal Procedure for three reasons. First, the failure to instruct

the jury as to the statute of limitations defense. Second, Pieron was denied his

Sixth Amendment right to counsel. Third, the verdict was against the weight of the

evidence.

       The factual and legal grounds for this motion are set forth in the brief. Oral

argument is requested. In addition, Pieron requests a hearing concerning the

ineffective assistance of trial counsel.1



       1
             To obtain an evidentiary hearing on a motion for new trial based on
ineffective assistance of counsel, a defendant need present only “a modicum of
evidence in support” of the request. United States v. Allen, 254 F. App’x 475, 478
(6th Cir. 2007) (unreported).
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                                       Respectfully submitted,

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Dated: May 15, 2019




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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         NORTHERN DIVISION


 UNITED STATES OF AMERICA,
                                       Case No. 18-cr-20489 (TLL)(PTM)
             Plaintiff,                Hon. Thomas L. Ludington
 vs.

 JAMES D. PIERON, JR.,

            Defendant.


           BRIEF IN SUPPORT OF MOTION FOR NEW TRIAL
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                               Preliminary Statement

       The government’s successful objection to defendant James Pieron, Jr.’s

proposed jury instruction concerning the statute of limitations created “substantial

legal error” requiring a new trial. This error necessitates a new trial at which a jury

is required to find the government met its burden concerning the statute of

limitations.

       A new trial should be held for the additional reason that Pieron’s trial

counsel was ineffective. Trial counsel failed to conduct a reasonable investigation.

If he had, trial counsel would have discovered Pieron has no tax liability for 2008

and 2009. There is a substantial probability that the trial would resolve differently

had defense counsel challenged the government’s evidence concerning Pieron’s tax

liability.

       Fred Gavin would testify that Pieron had no tax liability in 2008 and 2009

because (i) JDFX—not Pieron—received money from Trevor Cook, and (ii) Pieron

did not sell his stock to Cook, rather JDFX issued stock directly to Cook. A proper

cross-examination of Carol Nathan would challenge her tax calculations based on

capital gains given the fact that Pieron never sold his stock.

       Trial counsel was also ineffective for failing to object to the majority of

evidence offered by the government and prosecutorial misconduct.




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      Finally, for the reasons stated in Pieron’s motion for judgment of acquittal, a

new trial must be granted because the verdict is against the weight of the evidence.

                             Procedural Background

      The indictment in this matter was returned on July 18, 2018. (R. 1:

Indictment, at PgID 1–3.) The government later filed a bill of particulars. (R. 5:

Bill of Particulars, at PgID 9–15.) Pieron timely filed a motion to dismiss the

indictment. (R. 14: Mot. to Dismiss, at PgID 44–53.) The arguments for dismissal

included a statute of limitations defense. (Id. at PgID 51–52.)

      The government opposed the motion to dismiss on statute of limitations

grounds, arguing it was improper to dismiss the indictment on such a basis. (R. 23:

Gov. Opp’n to Mot. to Dismiss, at PgID 103–05.) The motion to dismiss was

denied. (R. 31: Order, at PgID 141–45.)

      Prior to trial, Pieron continued to assert the limitations defense by submitting

a jury instruction requiring the government to prove an affirmative act of evasion

after January 9, 2012. (Def.’s Proposed Jury Instructions, at 3, attached as Exhibit

1.) This Court did not instruct the jury on the statute of limitations defense. (R.

55: Trial Tr. vol. 6, at PgID 1005–06.) Pieron continued to object to the

instructions. (R. 55: Trial Tr. vol. 6, at PgID 1004–06, 1084.)

      On March 7, 2019, the jury found Pieron guilty of tax evasion. (R. 61: Trial

Tr. vol. 7, at PgID 1121–23.) On the same day, Pieron sought and received an


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extension until May 6, 2019 to file a motion for new trial pursuant to Rule 33 of

the Federal Rules of Criminal Procedure. (Id. at PgID 1128.) The Court extended

the deadline until May 15, 2019. (R. 63: Stipulated Order, at PgID 1242.)

                                     Argument

      This Court “may vacate any judgment and grant a new trial if the interest of

justice so requires.” Fed. R. Crim. P. 33(a). The “interests of justice” warrant a

new trial where “substantial legal error has occurred.” United States v. Munoz, 605

F.3d 359, 373 (6th Cir. 2010).

A.    The failure to give Pieron’s proposed jury instruction concerning the
      statute of limitations defense requires a new trial.

      This Court must grant a new trial because the jury was not instructed

concerning the statute of limitations. The proposed statute of limitations

instruction was a correct statement and not covered by another instruction. Its

absence “substantially impaired” Pieron’s defense because the jury could have

convicted Pieron based only on affirmative acts of evasion occurring prior to

January 2011.

      This is “substantial legal error” for purposes of moving for a new trial under

Rule 33. Munoz, 605 F.3d at 373 (“[A]ny error of sufficient magnitude to require

reversal on appeal is an adequate ground for granting a new trial.”) (quoting

Untied States v. Wall, 389 F.3d 457, 474 (5th Cir. 2004)).



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      A defendant is entitled to a new trial where there is a refusal to deliver a

proposed jury instruction that is “(1) a correct statement of the law, (2) not

substantially covered by the charge actually delivered to the jury, and (3) concerns

a point so important in the trial that the failure to give it substantially impairs the

defendant’s defense.” United States v. Williams, 952 F.2d 1504, 1512 (6th Cir.

1991).

      All three requirements are satisfied here.

      First, Pieron proposed a jury instruction that was a correct statement of law.

Prior to trial, on February 19, 2019, Pieron requested an instruction that included

the following language.

             To be guilty of the crime alleged, the defendant must have
             committed an affirmative act of tax evasion after January 9,
             2012. If you do not find, beyond a reasonable doubt, that the
             defendant committed an affirmative act of tax evasion after
             January 9, 2012, you must find him not guilty.

(Def.’s Proposed Jury Instructions, at 3 (a copy of which is attached as Exhibit

1).)2 The government opposed the instruction, and this Court sustained the

government’s objection. (R. 55: Trial Tr. vol. 6, at PgID 1005–06.)

      Because Pieron pressed the statute of limitations defense before and during

trial (R. 14: Mot. to Dismiss, at PgID 51–52; R. 55: Trial Tr. vol. 6, at PgID 1004–


      2
              The applicable 6-year limitation period, 26 U.S.C. § 6531, combined
with the tolling agreement (R. 23-12: Tolling Agreement, at PgID 110–11), creates
a limitation period of January 9, 2012 to July 18, 2018.
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06, 1084; Exhibit 1 at 3), the government had the burden of proving Pieron

committed an affirmative act of evasion within the statute of limitations period.

Musacchio v. United States, 136 S. Ct. 709, 718 (2016). Accordingly, Pieron’s

proposed instruction was a correct statement of law.

        Second, Pieron’s proposed jury instruction concerning the statute of

limitations defense was not covered by the instructions given to the jury. (R. 55:

Trial Tr. vol. 6, at PgID 1009–25.)

      Finally, the failure to give Pieron’s proposed instruction “substantially

impaired” his defense because the jury could have convicted on an improper

basis—basing its verdict solely on affirmative acts of evasion occurring prior to

January 9, 2012. As noted below, the evidence presented by the government at

trial (and listed in the government’s bill of particulars) included purported

affirmative acts of evasion that occurred before and after January 9, 2012. Indeed,

the government argued that conduct on both sides of January 9, 2012 constituted

affirmative acts of evasion. (R. 55: Trial Tr. vol. 6, at PgID 1025–1040.)

      The failure to give an instruction substantially impairs a defense where,

without the instruction, the jury may have convicted on an improper basis. United

States v. Adams, 583 F.3d 457, 470 (6th Cir. 2009) (holding that failure to instruct

jury that an uncorroborated confession was an insufficient basis for confession




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substantially impaired defense where there was a possibility the jury could have

convicted on uncorroborated testimony).

      The failure to give a statute of limitations instruction substantially impairs a

defense where a verdict can be based on conduct outside the limitations period.

United States v. Fuchs, 218 F.3d 957, 962 (9th Cir. 2000) (holding the lack of

instruction that jury was required to find that an overt act in furtherance of

conspiracy occurred within applicable statute of limitations was plain error

requiring reversal because only some of overt acts alleged in the indictment could

have occurred within the limitations period).

      When “jurors have been left the option of relying upon a legally inadequate

theory, there is no reason to think that their own intelligence and expertise will

save them from that error.” Griffin v. United States, 502 U.S. 46, 59 (1991).

Accordingly, because the jury’s verdict could have been based on affirmative acts

of evasion that occurred before January 9, 2012, Pieron is entitled to a new trial.

B.    Pieron is entitled to a new trial because his trial counsel was ineffective.

      “[A] violation of a defendant’s Sixth Amendment right to the effective

assistance of trial counsel constitutes a ‘substantial legal error’ such that a new trial

is warranted.” United States v. Arny, 831 F.3d 725, 730-31 (6th Cir. 2016)

(quoting Munoz, 605 F.3d at 373–74).




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      Pieron’s trial counsel was ineffective for three reasons. First, trial counsel

failed to conduct a reasonable investigation concerning the transactions that

purportedly gave rise to Pieron’s 2008 and 2009 tax liability. A reasonable

investigation would have revealed Pieron had no capital gains and no tax liability

for those years.

      Second, trial counsel failed to object to inadmissible evidence at trial. This

failure to object covers the majority of the evidence presented by the government.

      Third, trial counsel failed to object to prosecutorial misconduct at trial. This

failure allowed the government to argue for a conviction based on a failure to pay

tax, rather than the evasion of payment.

      Each of these reasons, standing alone, warrants a new trial. But this Court

should not view trial counsel’s errors in isolation. This Court should evaluate the

“combined effect of all acts of counsel found to be constitutionally deficient, in

light of the totality of the evidence in the case.” Lundgren v. Mitchell, 440 F.3d

754, 770 (6th Cir. 2006)

      Establishing ineffective assistance of counsel requires two showings. First,

a defendant must show “counsel’s performance was deficient,” containing “errors

so serious that counsel was not functioning as the ‘counsel’ guaranteed the

defendant by the Sixth Amendment.” Strickland v. Washington, 466 U.S. 668, 687

(1984).


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      To satisfy the second Strickland requirement, a defendant “must show that

the deficient performance prejudiced the defense” such that “there is a reasonable

probability that, but for counsel’s unprofessional errors, the result of the

proceeding would have been different.” Id. at 687, 694.

      Pieron was prejudiced by each instance of ineffective assistance such that,

absent the deficient performance, there is a reasonable probability the result at trial

would have been different. But in making the prejudice determination, this Court

need not view the impact of unprofessional errors in isolation. This Court should

evaluate the “combined effect of all acts of counsel found to be constitutionally

deficient, in light of the totality of the evidence in the case.” Lundgren v. Mitchell,

440 F.3d 754, 770 (6th Cir. 2006).

      1.     Trial counsel’s failure to investigate requires a new trial.

      Pieron’s reported 2008 and 2009 capital gains were based on the incorrect

assumption that Pieron sold his JDFX stock to Trevor Cook. (Gov. Exs. 40, 42,

attached hereto as Exhibits 2 and 3 respectively; see R. 51: Trial Tr. vol. 2, at PgID

430–32; R. 52: Trial Tr. vol. 3, at PgID 618–19; R. 53: Trial Tr. vol. 4, at PgID

698.) A reasonable investigation, which Pieron’s trial counsel failed to conduct,

would have revealed that Pieron never sold the stock to Cook. Instead, Cook

invested directly in JDFX, and the company, JDFX, issued stock directly to Cook.

A reasonable investigation would have revealed Pieron had no tax liability for


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2008 and 2009 because there was no capital gain. (Fred Gavin Decl. at ¶¶ 4 – 7,

attached hereto as Exhibit 4.)

      With respect to the first Strickland prong, courts have not hesitated to find

deficient performance “when counsel fails to conduct a reasonable investigation

into one or more aspects of the case.” Towns v. Smith, 395 F.3d 251, 258 (6th Cir.

2005) (finding deficient performance based on the failure to conduct a reasonable

investigation concerning a known and potentially important witness). “The

relevant question is not whether counsel’s choices were strategic, but whether they

were reasonable.” Id. (quoting Roe v. Flores-Ortega, 528 U.S. 470, 481 (2000)).

Trial counsel’s choices are not reasonable “when the attorney has failed to

investigate his options and make a reasonable choice between them.” Id. (quoting

Horton v. Zant, 941 F.2d 1449, 1462 (11th Cir. 1991)).

      Here, trial counsel failed to investigate the facts concerning Cooks’ purchase

of JDFX stock. (Gavin Decl., Ex. 4 at ¶ 8.) Indeed, trial counsel took the position

that Pieron had capital gains in 2008 and 2009 because he sold his JDFX stock to

Trevor Cook in those years. (See R. 51: Trial Tr. vol. 2, at PgID 430–32; R. 52:

Trial Tr. vol. 3, at PgID 618–19; R. 53: Trial Tr. vol. 4, at PgID 698.) But there

was evidence that Pieron did not receive any funds from Cook; instead, Cook’s

investment was wired to JDFX. (R. 52: Trial Tr. vol. 3, at PgID 515–20; Gov Ex.

138, attached hereto as Exhibit 5.)


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      Even with evidence of Pieron never receiving funds from Cook, trial counsel

still did not investigate the transaction. (Gavin Decl., Ex. 4 at ¶ 8.) That

investigation would have revealed JDFX issued stock to Cook—Pieron never

transferred his stock to Cook. (Id. at ¶ 5.) As a result, Pieron had no capital gains

in 2008 and 2009. (Id. at ¶ 4.) When capital gains are removed from the 2008 and

2009 tax returns, Pieron has no tax liability for those years. (Id. at ¶ 7.)

      Trial counsel “failed to investigate his options” to challenge the

government’s case concerning the existence of Pieron’s alleged tax liability for

2008 and 2009. Under Strickland, trial counsel’s performance was deficient

because his uninformed decisions were unreasonable. These decisions include (i)

not fully cross-examining Carol Nathan and others concerning the absence of

capital gains and (ii) not calling Fred Gavin and others as witnesses to testify

concerning the Cook-related transactions and the lack of capital gains.

      To satisfy the second Strickland requirement, the test for evaluating

prejudice “is whether there is a reasonable probability that counsel’s errors affected

the outcome of the trial.” Sims v. Livesay, 970 F.2d 1575, 1581 (6th Cir. 1992).

“A reasonable probability is a probability sufficient to undermine confidence in the

outcome.” Id. (citing Strickland, 466 U.S. at 694).

      In Sims, the Sixth Circuit found that trial counsel’s failure to investigate

physical evidence concerning whether a gun was fired at close range (in support of


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the defendant’s theory that there was a struggle for the gun) prejudiced the

defendant because the government’s case and the conviction relied “heavily upon

. . . [the] theory that the gun was fired from a distance.” Id. at 1581.

      In this case, the government relied exclusively upon Pieron’s 2008 and 2009

tax returns to prove a tax liability for 2008 and 2009. (R. 54: Trial Tr. vol. 2, at

PgID 924; Gov. Exs. 40, 42.)

             You don’t even have to decide how much he owed. Why?
             Because we’re going to take him at his word. We’re going to
             accept what he said to the IRS he owed when he filed his tax
             returns.

(R. 51: Trial Tr. vol 2, at PgID 314 (government’s opening statement).) The

government called Pieron’s initial tax preparer, Carol Nathan. She testified that

she calculated Pieron’s tax liability based on capital gains he had for tax years

2008 and 2009. (R. 52: Trial Tr. vol. 3, at PgID 548–50; Gov. Exs. 40, 42.)

Indeed, the original returns for 2008 and 2009 list capital gains of $1,776,418 and

$844,731, respectively. (Gov. Exs. 40, 42.)

      Cross-examination of the government’s witnesses, including Nathan,

concerning JDFX’s receipt of Cook’s direct investment would have significantly

weakened the government’s case. And testimony from Fred Gavin would have

been permissible to rebut testimony by government witnesses concerning Pieron’s

2008 and 2009 tax liability based on capital gains.



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       Here, like in Sims, trial counsel’s failure to investigate and question

witnesses concerned evidence that the government relied heavily upon (2008 and

2009 tax returns showing a liability based on capital gains). Absent trial counsel’s

deficient performance, there is a reasonable probability of a different result at trial.

       Accordingly, Pieron is entitled to a new trial.

       2.     The failure of trial counsel to object to inadmissible evidence requires
              a new trial.

       Pieron’s trial counsel consistently failed to object to inadmissible evidence

at trial despite clear reasons for doing so. This failure to object covered

approximately sixty percent of the government’s evidence of alleged affirmative

acts of evasion. This consistent failure to object denied Pieron his Sixth

Amendment right to counsel. Absent deficient performance, removing over half of

the government’s evidence in this case (especially when the evidence was highly

prejudicial), creates a substantial probability of a different result at trial.

       The two-part Strickland framework applies to allegations of ineffective

assistance based on the failure to object to inadmissible evidence. United States v.

Dado, No. 09-20523-09, 2013 WL 183997, at *15 (E.D. Mich. Jan. 17, 2013)

(Ludington, J.). While deference should be given to trial counsel’s failure to object

for strategic reasons, the consistent failure “to use objections, despite numerous

and clear reasons for doing so . . . cannot reasonably . . . have been part of a trial



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strategy or tactical choice.” Id. (quoting Lundgren v. Mitchell, 440 F.3d 754, 774

(6th Cir. 2006)).

      Here, trial counsel failed to object to at least two categories of evidence at

trial. First, trial counsel failed to object to evidence of purported affirmative acts

of payment evasion that occurred prior the government establishing Pieron’s

knowledge of a tax liability for tax years 2008 and 2009. Second, trial counsel

failed to object to evidence not listed in the bill of particulars.

      The elements of tax evasion under 26 U.S.C. § 7201 are (i) the existence of a

tax deficiency, (ii) willfulness, and (iii) an affirmative act “constituting an evasion

or attempted evasion of the tax.” Sansone v. United States, 380 U.S. 343, 351

(1965).

      Affirmative acts of payment evasion generally involve “conduct designed to

place assets beyond the government’s reach after a tax liability has been assessed.”

Unites States v. Mal, 942 F.2d 682, 687 (9th Cir. 1991) (emphasis added).

Although there are exceptions to this general rule, it exists because one cannot

willfully evade (or attempt to evade) an unknown tax liability. Cheek v. United

States, 498 U.S. 192, 201 (1991).

      At the earliest, the government established Pieron knew he had a tax liability

for tax years 2008 and 2009 at the time these tax returns were completed in

January 2011. Since Pieron’s signature on the 2008 and 2009 returns is not dated,


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for purposes of this motion, we will assume that Pieron was aware of his 2008 and

2009 tax liabilities on the date Pieron’s tax preparer signed the returns, January 7,

2011. (R. 52: Trial Tr. vol. 3, at PgID 548; Gov. Exs. 40, 42.)

      Because the government did not establish that Pieron knew he had a tax

liability for tax years 2008 and 2009 prior January 7, 2011, trial counsel was

ineffective by failing to object to evidence of purported affirmative acts of evasion

occurring before January 7, 2011. This failure to object was systemic, covering

over half of the evidence presented during the government’s case-in-chief. The

evidence is listed below.

      • January 1, 2007 to December 31, 2007: Testimony concerning the
        existence of a Saxo Bank account, which appeared to be one of Pieron’s
        personal account. The testimony included the failure to file a foreign
        bank account report. (R. 52:Trial Tr. vol. 3, at PgID 412–13; Gov. Ex.
        65, attached hereto as Exhibit 6.)3

      • January 2007 to November 2009: Testimony concerning balances of a
        Credit Suisse account for JDFX Fund Management Ltd, including an
        April 2009 balance of $159,804 (suggesting there was money available to
        pay 2008 taxes when due). (R. 52: Trial Tr. vol. 3, at PgID 418; Gov.
        Ex. 119, attached hereto as Exhibit 7.)

      • January 1, 2009 to December 31, 2009: Testimony concerning the
        balance of a Saxo Bank account in Pieron’s name, including the
        suggestion that there was money available to pay the 2008 taxes when
        they became due. (R. 52: Trial Tr. vol. 3, at PgID 413–15; Gov. Ex. 68,
        attached hereto as Exhibit 8.)


      3
             Omissions are not affirmative acts of evasion. See Sansone v. United
States, 380 U.S. at 351. Accordingly, trial counsel should have objected to
evidence concerning the failure to file an FBAR on this ground as well.
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      • April 2009 to June 2009: Testimony concerning the balance in a UBS
        account for JDFX Holding AG, including the suggestion that there was
        money in this account sufficient to pay the 2008 taxes when they became
        due. (R. 52: Trial Tr. vol. 3, at PgID 416; Gov. Ex. 18, attached hereto as
        Exhibit 9.)

      • July 7, 2009: Evidence that, when Pieron opened a JDFX account at
        Peregrine Financial Group, Inc., he signed a W-8BEN indicating that he
        was a “resident of Switzerland within the meaning of the income tax
        treaty between the United States and that country.” (Gov. Ex. 115,
        attached hereto as Exhibit 10; R. 53: Trial Tr. vol. 4, at PgID 645–51.)

      • June 8, 2009: Evidence of a wire transfer of $100,000 from James
        Pieron’s UBS account in Zurich to IB Technologies Inc.’s PNC bank
        account in the United States. (R. 53: Trial Tr. vol. 4, at PgID 748; Gov.
        Ex. 129, attached hereto as Exhibit 11.)

      • August 28, 2009: Testimony and evidence that Pieron purchased a 2009
        Mercedes for $110,000 on behalf of Komplique. (R. 53: Trial Tr. vol. 4,
        at PgID 724, 726–27, 755; Gov. Ex. 102, attached hereto as Exhibit 12.)

      • October 15, 2009: Evidence of a $500,000 wire transfer from JDFX
        Holding AG’s Credit Suisse account to IB Technologies, Inc. in Mount
        Pleasant, Michigan. (R. 53: Trial Tr. vol. 4, at PgID 749; Gov Ex. 129.)

      • October 19, 2009: Evidence of a $250,000 wire transfer from IB
        Technologies Inc. in Mount Pleasant, Michigan to PFG, Inc. in Chicago,
        Illinois. (R. 53: Trial Tr. vol. 4, at PgID 749; Gov. Ex. 129.)

      • November 18, 2009: Evidence of a $749,975 wire transfer from JDFX
        Fund Management Ltd.’s Credit Suisse account to IB Technologies, Inc.
        in Mount Pleasant, Michigan. (R. 53: Trial Tr. vol. 4, at PgID 749–50.)

      • January 1, 2010 to December 16, 2010: Evidence of account balances in
        Saxo Bank account in the name of Pieron, and testimony that there was
        over $500,000 in the account between April and June 2010 when tax for
        the 2009 tax year would have become due. (R. 51: Trial Tr. vol. 2, at
        PgID 415–16; Gov. Ex. 70, attached hereto as Exhibit 13.)


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      • January 13, 2010: Evidence of a $75,000 wire transfer from UBS AG to
        one of Pieron’s personal bank accounts in the United States. (R. 53: Trial
        Tr. vol. 4, at PgID 767–68; Gov. Ex. 114, attached hereto as Exhibit 14.)

      • April 1, 2010 to April 9, 2010: Evidence concerning the over $300,000
        balance in an IB Technologies, Inc. National City account, and the
        suggestion that this balance existed at a time when taxes for the 2009 tax
        year would have been due. (R. 51: Trial Tr. vol. 2, at PgID 418; Gov.
        Ex. 120D, attached hereto as Exhibit 15.)

      • April 5, 2010: Evidence of a funds transfer in the amount of $250,000
        from IB Technologies, Inc. to ILQ Holdings LLC. (R. 53: Trial Tr. vol.
        4, at PgID 719–20; Gov. Ex. 91, attached hereto as Exhibit 16.)

      • April 5, 2010: Evidence of a $250,000 wire transfer from National City
        (Komplique account) to one of Pieron’s personal savings account
        (xxx0031) in the United States. (R. 53: Trial Tr. vol. 4, at PgID 768–69;
        Gov. Ex. 114.)

      • April 5, 2010: Evidence of a $203,184.22 wire transfer from Peregrine
        Financial Group, Inc. to IB Technologies, Inc. (R. 53: Trial Tr. vol. 4, at
        PgID 750; Gov. Ex. 129.)

      • April 5, 2010: Evidence of a $250,000 wire transfer from IB
        Technologies to James Pieron. (R. 53: Trial Tr. vol. 4, at PgID 750; Gov.
        Ex. 129.)

      • April 6, 2010: Evidence of a $250,000 wire transfer from Pieron’s
        personal savings account (xxx0031) to an Institutional Liquidity
        Holdings business account. (R. 53: Trial Tr. vol. 4, at PgID 773; Gov.
        Ex. 109, attached hereto as Exhibit 17.)

      • April 15, 2010: Evidence of a $65,000 wire transfer from Northern Trust
        INTL BKG Corp to Pieron’s personal savings account (xxx0031). (R.
        53: Trial Tr. vol. 4, at PgID 769; Gov. Ex. 112, attached hereto as Exhibit
        18.)




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      • July 16, 2010: Evidence of a $21,000 wire from Komplique, Inc. to
        Manuela Uribe at the Stoneleigh Burnham School. (R. 53: Trial Tr. vol.
        4, at PgID 750–51; Gov. Ex. 134, attached hereto as Exhibit 19.)

      • August 4, 2010: Evidence of a $107,500 transfer from Pieron’s personal
        savings account (xxx0031) to Navitas Investments LLC business
        account. (R. 53: Trial Tr. vol. 4, at PgID 774; Gov. Ex. 175, attached
        hereto as Exhibit 20.)

      • October 15, 2010: Evidence that Pieron purchased a $15,000 cashier’s
        check payable to Central Michigan Pianos. (R. 53: Trial Tr. vol. 4, at
        PgID 770; Gov. Ex. 175.)

      • November 17, 2010: Evidence of a $15,391.71 wire from UBS AG to
        Pieron’s personal checking account (xxx6659). (R. 53: Trial Tr. vol. 4, at
        PgID 769–70; Gov. Ex. 114.)

      • November 30, 2010: Evidence of a $799,977 wire transfer from Pieron
        to Komplique Inc. (R. 53: Trial Tr. vol. 4, at PgID 751; Gov. Ex. 134.)

      • December 8, 2010: Evidence of a $12,500 wire from UGS AG to
        Pieron’s personal checking account (xxx6659). (R. 53: Trial Tr. vol. 4,
        at PgID 771–72; Gov. Ex. 107B, attached hereto as Exhibit 21.)

      • December 21, 2010: Evidence of a Komplique Inc. check payable to Air
        Services for $29,805.79. (R. 53: Trial Tr. vol. 4, at PgID 759; Gov. Ex.
        130, attached hereto as Exhibit 22.)

      • December 28, 2010: Evidence of a Komplique Inc. check payable to
        Pieron for $42,000 and deposited into Pieron’s personal checking account
        (xxx6659). (R. 53: Trial Tr. vol. 4, at PgID 772; Gov. Ex. 108B, attached
        hereto as Exhibit 23.)

      Trial counsel’s performance was also deficient for failing to object to the

evidence that was not listed in the bill of particulars. “When a bill of particulars

has been furnished, the government is strictly limited to the particulars which it has

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specified.” United States v. Haskins, 345 F.2d 111, 114 (6th Cir. 1965); United

States v. McQuarrie, No. 16-CR-20499, 2018 WL 372702, at *6 (E.D. Mich. Jan.

11, 2018) (Ludington, J.).

      The evidence listed above not contained in the bill of particulars is

underlined. In addition, the post-January 7, 2011 evidence that was inadmissible

because it was not listed in the bill of particulars follows.

      • January 2011 to December 2011: Evidence concerning the balance of
        business accounts in the United States. The government specifically
        highlighted accounts for Komplique and IB Technologies, Inc. (R. 51:
        Trial Tr. vol. 2, at PgID 420–21; Gov. Exs. 120F, 121C, attached hereto
        as Exhibits 24 and 25 respectively.)

      • November 28, 2011: Evidence of a check drawn off IB Technologies for
        $6,684.24. (R. 53: Trial Tr. vol. 4, at PgID 754; Gov. Ex. 128, attached
        hereto as Exhibit 26.)

      • December 31, 2011 to January 31, 2012: Evidence concerning the
        balance of Komplique’s business savings account. (R. 53: Trial Tr. vol.
        4, at PgID 762; Gov. Ex. 169, attached hereto as Exhibit 27.)

      • April 21, 2012: Evidence concerning the purchase of a 2012 motorcycle
        for $18,901.64. (R. 53: Trial Tr. vol. 4, at PgID 742–43; Gov. Ex. 176,
        attached hereto as Exhibit 28.)

      • March 30, 2013 to April 30, 2013: Evidence concerning the balance of
        Komplique’s checking account (beginning balance of $50,400 and
        ending balance of $25,340.94). (R. 53: Trial Tr. vol. 4, at PgID 762;
        Gov. Ex. 68.)

      • April 30, 2013: Evidence of a Krescent Media LLC check payable to
        Pieron in the amount of $50,000. (Gov. Ex. 168, attached hereto as
        Exhibit 29.)


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      • October 17, 2013: Evidence concerning the trade-in of a 2009 Mercedes
        and purchase of 2013 Mercedes G63 by Krescent Media. (R. 52: Trial
        Tr. vol. 3, at PgID 595–97; Gov. Exs. 170–72, attached hereto as Exhibits
        30, 31, and 32 respectively.)

      As shown above, the failure to object to evidence on these grounds was

consistent and pervasive. Accordingly, the first Strickland prong is satisfied—trial

counsel’s repeated decisions not to object were unreasonable and constitute

deficient performance. Lundgren v. Mitchell, 440 F.3d at 774.

      The Strickland prejudice requirement is also met. Trial counsel’s failure to

object to evidence covers over half of the government’s case concerning affirmative

acts of evasion. The evidence was highly prejudicial. The evidence included

significant balances in business and personal accounts both in the United States and

Switzerland. The evidence involved the purchase of expensive automobiles and

other “luxury items,” as termed by the government. And this evidence was made

more prejudicial by (as noted below) the government’s improper arguments and

suggestions to the jury that Pieron could be convicted of tax evasion by having the

ability to pay and failing to do so, rather than affirmatively concealing assets from

the IRS for collection purposes.4


      4
              See U.S. Dep’t of Justice, Criminal Tax Manual (2012), §8.06[2],
available at http://www.justice.gov/tax/file/629241/download (last visited May 10,
2019) (“[R]efusing to pay taxes due and possession of the funds needed to pay the
taxes, without more, does not establish the requisite affirmative act necessary for
an attempted evasion of payment charge.”) (citing Spies v. United States, 317 U.S.
492, 499 (1943)(emphasis supplied)).
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      But for trial counsel’s deficient performance, which would have eliminated

the evidence noted above, there is a substantial probability that the result at trial

would have been different. The fact that the jury was allowed to hear this evidence

must significantly undermine any confidence this Court has in the jury’s verdict.

Accordingly, Pieron is entitled to a new trial.

      3.     The failure of trial counsel to object to prosecutorial misconduct
             requires a new trial.

      The prosecutors in this case committed misconduct by misstating the law—

turning the trial into a failure to pay case (a misdemeanor), instead of a tax evasion

case (the charged felony). Beginning in opening statements and continuing

through closing arguments, the government consistently misstated the law by

asking the jury to convict Pieron based on his “willful failure to pay taxes.” (E.g.,

R. 55: Trial Tr. vol. 6, at PgID 1070.) Because this misconduct was persistent and

permeated the trial, trial counsel’s failure to object was both unreasonable and

prejudicial. Accordingly, this Court should grant Pieron a new trial.

      Trial counsel’s “failure to object to prosecutorial misconduct can amount to

ineffective assistance of counsel.” Walker v. Morrow, 458 F. App’x 475, 487 (6th

Cir. 2012). “[P]rosecutors are ‘to refrain from improper methods calculated to

produce a wrongful conviction.’” Wilson v. Bell, 368 F. App’x 627, 632 (6th Cir.

2010) (quoting Berger v. United States, 295 U.S. 78, 88, (1935)). “[W]hen a

prosecutor does act unfairly, there is little a defendant can do other than rely on his

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or her attorney to lodge an appropriate and timely objection,” and counsel’s

“failure to make such an objection can have devastating consequences for an

individual defendant.” Hodge v. Hurley, 426 F.3d 368, 377 (6th Cir. 2005). The

failure to object to prosecutorial misconduct is subject to the two-part Strickland

standard. Schauer v. McKee, 401 F. App’x 97, 99 (6th Cir. 2010).

      In opening statements, the government tried to frame the issue at trial to be

whether Pieron tried to “avoid paying taxes he had the ability to pay.” (E.g., R.

51: Trial Tr. vol. 2, at PgID 314.) There was a significant focus on Pieron

purchasing things instead of paying his taxes. (E.g., R. 51: Trial Tr. vol. 2, at PgID

320 (“He decides not to pay the taxes. He decides to buy that bike rather than pay

the taxes.”).)

      And in closing arguments, the government misstated the law—asking the

jury to return a guilty verdict based on Pieron’s “willful failure to pay” his taxes,

instead of the willful evasion of tax payments by hiding or concealing assets from

the government.

   • “It took him literally until 2018 to pay what he owed for 2008 and 2009.
     And it took Mr. Pieron leaving—learning, excuse me, that he was about to
     be charged criminally for a tax offense to get him to pay that tax, those taxes
     he owed for 2008 and 2009.” (R. 55: Trial Tr. vol. 6, at PgID 1026 – 27.)

   • “And he apparently thinks he can write a couple of checks and make the
     charge go away, but what those checks show you, ladies and gentleman,
     those two big checks he wrote in 2018, shows that he had the money, he
     could have paid his taxes all along, but he chose not to because he was

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      evading the payment until he thought paying might get him out of where he
      is today.” (R. 55: Trial Tr. vol. 6, at PgID 1027.)

   • “Now, I submit to you, ladies and gentleman, that purchase of that car was a
     choice he made to buy the car rather than to pay taxes.” (R. 55: Trial Tr.
     vol. 6, at PgID 1028.)

   • “[W]hat you need to know is that defendant owed taxes, and that he
     willfully failed to pay them.” (R. 55: Trial Tr. vol. 6, at PgID 1036.)

   • “Paying taxes nine years after they are due is simply not a defense to the
     years of evasion, and, in fact, it’s evidence of the evasion, because it
     shows he had the ability to pay.” (R. 55: Trial Tr. vol. 6, at PgID 1038 –
     39.)

   • “The judge will tell you, and he has told you, what you have to consider,
     whether the defendant committed the crime, whether the Government has
     established that there was a willful failure to pay the taxes that were
     owed by the defendant for 2008 and 2009.” (R. 55: Trial Tr. vol. 6, at
     PgID 1070)

      These are incorrect statements of law. Pieron was not charged with the

willful failure to pay taxes (an omission). Pieron was charged with willfully

evading payment of his taxes (i.e., committing affirmative acts designed to conceal

or hide assets that the IRS can use to collect taxes). See Sansone v. United States,

380 U.S. at 351 (stating that “the difference between a mere willful failure to pay a

tax . . . when due under § 7203 and a willful attempt to evade or defeat taxes under

§ 7201 is that the latter felony involves some willful commission” in addition to

failing to pay, which is an omission).

      Asking the jury to convict Pieron for his willful failure to pay taxes

constitutes prosecutorial misconduct. See, e.g., Dagley v. Russo, 540 F.3d 8, 12
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(1st Cir. 2008) (prosecutor’s argument that defendant should not be convicted of

manslaughter because actions were not “‘reasonable response” was improper

because manslaughter does not require defendant’s response to be reasonable);

United States v. Monroe, 178 F.3d 304, 308 (5th Cir. 1999) (prosecutor’s incorrect

statement of jury instructions constituted improper misstatement of law); United

States v. Henry, 545 F.3d 367, 382–83 (6th Cir. 2008) (prosecutor’s suggestion to

jurors that they would not let their children take a job with defendant were

improper because they misled jury regarding “reasonable doubt” standard); United

States v. Golliher, 820 F.3d 979, 986 (8th Cir. 2016) (prosecutor’s statement

equating persuasion with force was improper because it misstated elements of

entrapment).

      The first Strickland requirement of deficient performance is satisfied

because trial counsel consistently failed to object to the multiple instances of

prosecutorial misconduct noted above. Lundgren v. Mitchell, 440 F.3d at 774.

      The second Strickland requirement is satisfied because Pieron was

prejudiced by trial counsel’s deficient performance. The government began down

the failure-to-pay path in opening statements. The government continued down the

path by bombarding the jury with evidence of Pieron’s alleged ability to pay

combined with persistent suggestions that the ability to pay existed when taxes

were due. (E.g., R. 51: Trial Tr. vol. 2, at PgID 412–13, 415–416, 418.) And the


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government reinforced the improper legal framework in closing arguments. Given

this, there is a reasonable probability that the result at trial would be different if

trial counsel had prevented the government from arguing for a conviction based on

Pieron’s failure to pay taxes.

C.    Pieron is entitled to a new trial because the jury’s verdict was against
      the weight of the evidence.

      Even assuming the jury found that Pieron committed an affirmative act of

evasion within the limitations period, such a verdict was against the weight of the

evidence.

      “When the motion [for new trial] attacks the weight of the evidence, the

court’s authority is much broader than when it is deciding a motion to acquit on the

ground of insufficient evidence.” United States v. Arrington, 757 F.2d 1484, 1485

(4th Cir. 1985). “[T]he court may consider the credibility of witnesses and need not

view the evidence in the light most favorable to the government in determining

whether to grant a new trial.” United States v. Souder, 436 F. Appx. 280, 289 (4th

Cir. 2011) (citation omitted). Unlike the standard for entering a judgment of

acquittal, “the trial court may grant relief if it determines that the evidence—even

if legally sufficient to convict—weighs so heavily against the verdict that it would

be unjust to enter judgment.” Id.

      For the reasons stated in Pieron’s brief in support of the motion for judgment

of acquittal, the evidence weighs heavily against a verdict that must be based on an

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affirmative act of evasion occurring within the applicable limitations period. So

much so that it would be unjust to enter judgment against Pieron. A new trial

should be granted

                                    Conclusion

      For the reasons stated, Pieron should be given a new trial.

                                          Respectfully submitted,

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                          CERTIFICATE OF SERVICE


      I hereby certify that on May 15, 2019, I electronically filed the foregoing

document with the Clerk of the Court using the ECF system, which will send

notification of such filing to all counsel of record.



                                         Respectfully submitted,

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